Case 3:08-cr-30071-DRH-PMF      Document 84     Filed 06/23/09   Page 1 of 1   Page ID
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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 JUSTIN L. BUCKNER,

 Defendant.                                                No. 08-30071-DRH

                                       ORDER

 HERNDON, Chief Judge:

              Before the Court is an Agreed Motion to Continue Sentencing filed by the

 United States of America (Doc. 83).     The Government requests that the Court

 continue the sentencing hearing for Defendant Buckner for sixty (60) days so that the

 Government can conclude its investigation and can accurately advise the Court on

 the nature and extent of Defendant Buckner’s cooperation. The Defendant does not

 object to the continuance. Therefore, the Court GRANTS the Government’s agreed

 motion to continue sentencing (Doc. 83) and CONTINUES the sentencing date set for

 June 26, 2009 until September 4, 2009 at 3:00 p.m.

              IT IS SO ORDERED.

              Signed this 23rd day of June, 2009.



                                              /s/     DavidRHer|do|
                                              Chief Judge
                                              United States District Court
